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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                 Mon. Douglas E. Arpert

            v.                            Mag. No.        12-2574-3 (DEA)

                                          CONSENT ORDER TO
 ANTHONY DIMATTEO                   :     ADJOURN A PRELIMINARY HEARING




            This matter having come before the Court on the joint

 application of Paul J. Fishman, United States Attorney for the

District of New Jersey (Eric W. Moran and Matthew J. Skahill,

Assistant U.S. Attorney, appearing), and defendant Anthony

Dimatteo (Edward G. Washburne, Beg., appearing), for a consent

order adjourning the preliminary hearing in this matter for a

period of sixty days, and the defendant having had his initial

appearance before the Court on September 10,          2012 at which time

he was represented by the Federal Public Defender and was advised

of his rights by the Court, and the Court having appointed Edward

G. Washburne, Beg. as counsel in this matter on September 11,

2012, and the defendant having a right to a preliminary hearing

no later than 21 days after his initial appearance, and defense

counsel, on behalf of the defendant, having agreed to adjourn the

preliminary hearing for 60 days, and the Government and the

defense having represented that extraordinary circumstances exist

and justice requires the delay, and the Government and the
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     defense having also previously cons
                                         ented            to the entry of a
     Continuance Order pursuant to 18 U.S.
                                           C. § 3162. (h) (7), and for
     good cause shown,

                  IT IS THE FINDING OF THIS COURT that
                                                       the preliminary
     hearing in this matter should be continue
                                              d for a period of sixty
     days for the following reasons:

                  (1)    The Government and the defense have joint
                                                                   ly
     requested the adjournment of the prelimina
                                               ry hearing for a period
     of sixty days;

                 (2)    Pursuant to Federal Rule of Criminal Procedur
                                                                      e
     51(d), extraordinary circumstances exist and justi
                                                        ce requires
    the delay.

                 IT IS, therefore, on this               day of September, 2012,
                 ORDERED that the time within a preliminary hear
                                                                ing in
    this matter must be scheduled is adjourned for
                                                   a period sixty
    days.



                               •                 HON. DOUGLAS E. ARPERT
                                                 United States Magistrate Judge
    Form and ent        con   nted to:




    Matthew J.     ‘U
    Assistant United States Attorney




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    Counsel for the Defendant

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